Case 1:19-cr-00334-LMB Document 336 Filed 08/02/21 Page 1 of 16 PageID# 1645
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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                                                                                       CLERK. U.S. DISTRICT COURT
                                                                                          HI FXAMDRIA. VIRGINIA
                              EASTERN DISTRICT OF VIRGINIA

                                        Alexandria Division


  UNITED STATES OF AMERICA

         V.                                             No. I:I9-cr-334


  XIZHI LI,

         Defendant



                                       PLEA AGREEMENT


        Raj Parekh, Acting United States Attorney for the Eastern District of Virginia;

 undersigned counsel for the United States; the defendant, Xizhi Li; and the defendant's counsel

 have entered into an agreement pursuant to Rule 11 ofthe Federal Rules of Criminal Procedure.

 The terms of this Plea Agreement are as follows:

        1.      Offense and Maximum Penalties

        The defendant agrees to plead guilty to Count Three of the Indictment, charging the

 defendant with conspiracy to commit money laundering, in violation of 18 U.S.C. § 1956(h).

 The maximum penalties for this offense are: a maximum term of 20 years of imprisonment, a

 fine of$500,000 or twice the value of the assets involved in the offense, whichever is greater,

 forfeiture of assets as outlined below, a special assessment pursuant to 18 U.S.C § 3013, and a

 maximum supervised release term of 3 years. The defendant understands that any supervised'

 release term is in addition to any prison term the defendant may receive, and that a violation of a

 term of supervised release could result in the defendant being returned to prison for the full term

 of supervised release.
    Case 1:19-cr-00334-LMB Document 336 Filed 08/02/21 Page 2 of 16 PageID# 1646

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Case 1:19-cr-00334-LMB Document 336 Filed 08/02/21 Page 3 of 16 PageID# 1647




        2.      Factual Basis for the Plea


        The defendant will plead guilty because the defendant is in fact guilty ofthe charged

 offense. The defendant admits the facts set forth in the Statement of Facts filed with this Plea

 Agreement and agrees that those facts establish guilt ofthe offense charged beyond a reasonable

 doubt. The Statement of Facts, which is hereby incorporated into this Plea Agreement,

 constitutes a stipulation offacts for purposes of Section 1B1.2(c) ofthe Sentencing Guidelines.

        3.      Assistance and Advice of Counsel

        The defendant is satisfied that the defendant's attorney has rendered effective assistance.

 The defendant understands that by entering into this Plea Agreement, defendant surrenders

 certain rights as provided in this agreement. The defendant understands that the rights of

 criminal defendants include the following:

                a.     the right to plead not guilty and to persist in that plea;

                b.     the right to a jury trial;

                c.     the right to be represented by counsel—and, if necessary, have the court
                       appoint counsel—^at trial and at every other stage ofthe proceedings; and

                d.     the right at trial to confront and cross-examine adverse witnesses, to be
                       protected from compelled self-incrimination, to testify and present
                       evidence, and to compel the attendance of witnesses.

        4.      Sentencing Guidelines, Recommendations,and Roles

        The defendant understands that the Court has jurisdiction and authority to impose any

 sentence within the statutory maximum described above, but that the Court will determine the

 defendant's actual sentence in accordance with 18 U.S.C. § 3553(a). The defendant understands

 that the Court has not yet determined a sentence and that any estimate ofthe advisory sentencing

 range under the U.S. Sentencing Commission's Sentencing Guidelines Manual the defendant

 may have received from the defendant's counsel, the United States, or the Probation Office, is a
Case 1:19-cr-00334-LMB Document 336 Filed 08/02/21 Page 4 of 16 PageID# 1648




 prediction, not a promise, and is not binding on the United States, the Probation Office, or the

 Court. Additionally, pursuant to the Supreme Court's decision in United States v. Booker, 543

 U.S. 220(2005), the Court, after considering the factors set forth in 18 U.S.C. § 3553(a), may

 impose a sentence above or below the advisory sentencing range, subject only to review by

 higher courts for reasonableness. The United States makes no promise or representation

 concerning what sentence the defendant will receive, and the defendant cannot withdraw a guilty

 plea based upon the actual sentence.

        Further, in accordance with Federal Rule of Criminal Procedure 11(c)(1)(B), the United

 States and the defendant stipulate and will recommend to the Court that the following provisions

 ofthe Sentencing Guidelines apply:

  Guideline(s)             Description                                               Offense Level

  2S 1.1(a)(2)             Base offense level                                              8

  2Sl.l(a)(2)and
                           The offense involved more than $9,500,000                      +20
  2Bl.l(b)(l)(K)
                           The defendant knew or believed that any ofthe
                           laundered funds were the proceeds ofthe
  2S1.1(b)(1)                                                                             +6
                           manufacture, importation, or distribution of
                           controlled substances
                           The defendant was in the business of money
  2S1.1(b)(2)(C)                                                                          +4
                           laundering
                           The defendant was an organizer or leader of a
  3Bl.l(a)                 criminal activity that involved five or more                   +4
                           participants or was otherwise extensive


        The United States and the defendant further agree that the defendant has assisted the

 government in the investigation and prosecution of the defendant's own misconduct by timely

 notifying authorities ofthe defendant's intention to enter a plea of guilty, thereby permitting the

 government to avoid preparing for trial and permitting the government and the Court to allocate

 their resources efficiently. Ifthe defendant qualifies for a two-level decrease in offense level

 pursuant to U.S.S.G. § 3El.l(a) and the offense level prior to the operation ofthat section is a
Case 1:19-cr-00334-LMB Document 336 Filed 08/02/21 Page 5 of 16 PageID# 1649




 level 16 or greater, the government agrees to file, pursuant to U.S.S.G. § 3El.l(b), a motion prior

 to, or at the time of, sentencing for an additional one-level decrease in the defendant's offense

 level.


          The United States and the defendant agree to jointly recommend a sentence of 180

 month's imprisonment.

          The United States and the defendant have not agreed on any further sentencing issues,

 whether related to the Sentencing Guidelines or the factors listed in 18 U.S.C. § 3553(a), other

 than those set forth above or elsewhere in this Plea Agreement. Any stipulation on a Guidelines

 provision does not limit the parties' arguments as to any other Guidelines provisions or

 sentencing factors under Section 3553(a), including arguments for a sentence within or outside

 the advisory Guidelines range found by the Court at sentencing.

          5.     Waiver of Appeal,FOIA,and Privacy Act Rights

          The defendant also understands that 18 U.S.C. § 3742 affords a defendant the right to

 appeal the sentence imposed. Nonetheless,the defendant knowingly waives the right to appeal

 the conviction and any sentence within the statutory maximum described above (or the manner in

 which that sentence was determined) on the grounds set forth in 18 U.S.C. § 3742 or on any

 ground whatsoever other than an ineffective assistance of counsel claim that is cognizable on

 direct appeal, in exchange for the concessions made by the United States in this Plea Agreement.

 This agreement does not affect the rights or obligations ofthe United States as set forth in 18

 U.S.C. § 3742(b). The defendant also hereby waives all rights, whether asserted directly or by a

 representative, to request or receive from any department or agency ofthe United States any

 records pertaining to the investigation or prosecution ofthis case, including without limitation
Case 1:19-cr-00334-LMB Document 336 Filed 08/02/21 Page 6 of 16 PageID# 1650




 any records that may be sought under the Freedom of Information Act, 5 U.S.C. § 552, or the

 Privacy Act, 5 U.S.C. § 552a.

        6.      Immunity from Further Prosecution in This District

        The United States will not further criminally prosecute the defendant in the Eastern

 District of Virginia for the specific conduct described in the Superseding Indictment or

 Statement of Facts, except that the United States may prosecute the defendant for any crime of

 violence or conspiracy to commit, or aiding and abetting, a crime of violence not charged in the

 Superseding Indictment as an offense. In such a prosecution, the United States may allege and

 prove conduct described in the Superseding Indictment or Statement of Facts. "Crime of

 violence" has the meaning set forth in 18 U.S.C. § 16.

        7.      Dismissal of Other Counts


        As a condition of the execution of this agreement and the Court's acceptance ofthe

 defendant's plea of guilty, the United States will move to dismiss the remaining counts pending

 against this defendant at the conclusion ofthis defendant's sentencing hearing.

        8.      Payment of Monetary Penalties

        The defendant understands and agrees that, pursuant to 18 U.S.C. § 3613 and 18 U.S.C.

 § 3572, all monetary penalties imposed by the Court, including restitution, will be due

 immediately and subject to immediate enforcement by the United States as provided for in

 Section 3613. If the Court imposes a schedule of payments, the defendant understands that the

 schedule of payments is merely a minimum schedule of payments and not the only method, nor a

 limitation on the methods, available to the United States to enforce the judgment. Until all

 monetary penalties are paid in full, the defendant will be referred to the Treasury Offset Program

 so that any federal payment or transfer of returned property to the defendant will be offset and
Case 1:19-cr-00334-LMB Document 336 Filed 08/02/21 Page 7 of 16 PageID# 1651




 applied to pay the defendant's unpaid monetary penalties. Ifthe defendant is incarcerated, the

 defendant agrees to participate voluntarily in the Bureau ofPrisons' Inmate Financial

 Responsibility Program, regardless of whether the Court specifically directs participation or

 imposes a schedule of payments. Defendant agrees to make good-faith efforts toward payment

 of all monetary penalties imposed by the Court.

        9.      Special Assessment

        Before sentencing in this case, the defendant agrees to pay a mandatory special

 assessment of$100 per felony count of conviction, pursuant to 18 U.S.C. § 3013(a)(2)(A).

        10.     Forfeiture Generally

        This Plea Agreement is being entered into by the United States on the basis of

 Defendant's express representation that he will make a full and complete disclosure of all assets

 over which he exercises or exercised direct or indirect control, or in which he has and any

 financial interest since 2008. Defendant agrees not to dispose of any assets or take any action

 that would effect a transfer of property in which he has an interest, unless Defendant obtains the

 prior written permission of the United States.

        Defendant agrees to make complete financial disclosure by truthfully executing a sworn

 financial statement(Form OBD-500 or similar form) within 14 days of signing this plea

 agreement. Defendant agrees to authorize the release of all financial information requested by

 the United States, including, but not limited to, executing authorization forms permitting the

 United States to obtain tax information, bank account records, credit histories, and social security

 information dating back to 2008. The defendant agrees to take all steps as requested by the

 United States to obtain from any other parties by any lawful means any records of assets owned

 at any time by the defendant. Defendant agrees to discuss and answer any questions by the
Case 1:19-cr-00334-LMB Document 336 Filed 08/02/21 Page 8 of 16 PageID# 1652




 United States relating to defendant's complete financial disclosure. The defendant agrees to

 undergo any polygraph examination the United States may choose to administer conceming his

 assets.


           Defendant agrees to take all steps necessary to pass clear title to forfeitable assets to the

 United States and to assist fully in the collection of restitution and fines, including, but not

 limited to, surrendering title, executing a warranty deed, signing a consent decree, stipulating to

 facts regarding the transfer of title and the basis for the forfeiture, and signing any other

 documents necessary to effectuate such transfer. Defendant also agrees to direct any banks

 which have custody of his assets to deliver all funds and records of such assets to the United

 States.


           The defendant understands that forfeiture of defendant's assets shall not be treated as

 satisfaction of any fine, restitution, cost of imprisonment, or any other penalty this Court may

 impose upon defendant in addition to forfeiture. The defendant understands that the proceeds of

 the offense are subject to forfeiture and cannot be used for any purpose, to include attorney's

 fees and living expenses.

           11.    Forfeiture Agreement

           The defendant understands that the forfeiture of assets is part ofthe sentence that must be

 imposed in this case. The defendant agrees to forfeit all interests in any money laundering-

 related asset that the defendant owns or over which the defendant exercises control, directly or

 indirectly. This includes any property that is traceable to, derived from,fungible with, or a

 substitute for the following: property that constitutes the proceeds ofthe offense, property

 facilitating the offense, and property used in or involved in the offense.
Case 1:19-cr-00334-LMB Document 336 Filed 08/02/21 Page 9 of 16 PageID# 1653




        The defendant understands that if the assets subject to forfeiture are not available to the

 United States to be forfeited, the Court must enter a forfeiture money judgment in the amount of

 the unavailable assets. United States v. Blackman, 746 F.3d 137(4th Cir. 2014). The defendant

 acknowledges that as a result of defendant's acts or omissions, the actual proceeds the defendant

 obtained as a result ofthe offense ($10,000,000) are not available and the defendant stipulates

 that one or more ofthe factors listed at 21 U.S.C. § 853(p)(l) are present in this case. The

 government agrees that $617,524.24 previously seized and forfeited in the Western District of

 Tennessee (2:19-cv-2265(W.D. Tenn. Jan. 8, 2020), Dkt. 18) is to be applied against the

 $10,000,000 forfeiture money judgment.

        The defendant further agrees to waive all interest in the asset(s) in any administrative or

 judicial forfeiture proceeding, whether criminal or civil, state or federal. The defendant agrees to

 consent to the entry of orders offorfeiture for such property and waives the requirements of

 Federal Rules of Criminal Procedure 32.2 and 43(a) regarding notice ofthe forfeiture in the

 charging instrument, announcement ofthe forfeiture at sentencing, and incorporation ofthe

 forfeiture in the judgment. Defendant admits and agrees that the conduct described in the

 charging instrument and Statement of Facts provides a sufficient factual and statutory basis for

 the forfeiture of the property sought by the government.

         12.    Waiver of Further Review of Forfeiture

         The defendant further agrees to waive all constitutional and statutory challenges to

 forfeiture in any manner(including direct appeal, habeas corpus, or any other means)to any

 forfeiture carried out in accordance with this Plea Agreement on any grounds, including that the

 forfeiture constitutes an excessive fine or punishment. The defendant also waives any failure by

 the Court to advise the defendant of any applicable forfeiture at the time the guilty plea is
Case 1:19-cr-00334-LMB Document 336 Filed 08/02/21 Page 10 of 16 PageID# 1654




 accepted as required by Rule 1 l(b)(l)(J). The defendant agrees to take all steps as requested by

 the United States to pass clear title to forfeitable assets to the United States, and to testify

 truthfully in any judicial forfeiture proceeding. The defendant understands and agrees that all

 property covered by this agreement is subject to forfeiture as proceeds of illegal conduct,

 property facilitating the offense, property used or involved in the offense, and substitute assets

 for property otherwise subject to forfeiture.

         13.     The Defendant's Obligations Regarding Assets Subject to Forfeiture

         The defendant agrees to fully participate in the United States' pre- and post-judgment

 financial investigation. Such participation includes the identification of assets in which the

 defendant has any legal or equitable interest to determine what assets may be available for

 payment to restitution, forfeiture, and/or any fine imposed in this case. The defendant agrees that

 the defendant's financial information is subject to investigation and disclosure pre-judgment to

 the same extent as financial information will be subject to discovery after judgment is imposed.

 The defendant understands that 31 U.S.C. § 3711(h)(1) permits the United States to obtain the

 defendant's credit report after sentencing and expressly authorizes the United States to obtain the

 defendant's credit report prior to sentencing in this case. The defendant understands that the

 United States has sole discretion over whether it will obtain defendant's credit report pursuant to

 this Plea Agreement. If the United States determines that it will obtain defendant's credit report

 prior to sentencing pursuant to this Plea Agreement,the defendant authorizes the United States,

 and the United States agrees, to provide a copy to defense counsel upon request. The defendant

  understands that failure to participate in the financial investigation as described in this paragraph

  may constitute the defendant's failure to accept responsibility under U.S.S.G § 3E1.1. The
Case 1:19-cr-00334-LMB Document 336 Filed 08/02/21 Page 11 of 16 PageID# 1655




 defendant also agrees to provide or consent to the release of the defendant's tax returns for the

 previous five years.

         The defendant shall identify all assets valued at more than $5,000 that have been

 transferred to third parties since the date ofthe first offense giving rise to this Plea Agreement,

 including the location ofthe assets and the identities ofthird parties to whom they were

 transferred. The defendant agrees not to transfer any assets valued at more than $5,000 without

 approval of the Asset Recovery Unit ofthe U.S. Attorney's Office until the fine, forfeiture, and

 restitution ordered by the Court at sentencing are paid in full or otherwise terminated by

 operation of law. The defendant agrees to take all steps requested by the United States to obtain

 from any other parties by any lawful means any records of assets contemplated by this paragraph

 in which the defendant has or had an interest. Until the fine, forfeiture, and restitution ordered

 by the Court are paid in full or otherwise terminated by operation of law, the defendant agrees to

 notify the Asset Recovery Unit of the U.S. Attorney's Office of a change in address within 30

 days of such change.

         The United States will not use any truthful and complete information provided by the

 defendant pursuant to this paragraph for additional criminal offenses against the defendant in the

 Eastern District of Virginia, except in any prosecution for a crime of violence or conspiracy to

 commit, or aiding and abetting, a crime of violence (as defined in 18 U.S.C. § 16). Pursuant to

  U.S.S.G. § IB 1.8, no truthful information that the defendant provides pursuant to defendant's

 obligations under this paragraph will be used in determining the applicable guideline range,

 except as provided in Section IB 1.8(b). Nothing in this agreement, however, restricts the

  Court's or Probation Officer's access to information and records in the possession ofthe United

  States. Furthermore, nothing in this agreement prevents the United States in any way from




                                                  10
Case 1:19-cr-00334-LMB Document 336 Filed 08/02/21 Page 12 of 16 PageID# 1656




 prosecuting the defendant should the defendant knowingly provide false, untruthful, or

 perjurious information or testimony, or from using information provided by the defendant in

 furtherance of any forfeiture action or restitution enforcement action, whether criminal or civil,

 administrative or judicial.

         14.       Impact of Guilty Plea on Immigration or Citizenship Status

         The defendant recognizes that pleading guilty may have consequences for defendant's

 immigration status, if defendant is not a citizen of the United States, or for defendant's

 citizenship status, if defendant is a naturalized citizen. Under federal law, a broad range of

 crimes are removable offenses, including offenses that qualify as aggravated felonies, crimes

 involving moral turpitude, and conduct involving controlled substances and firearms, among

 many other categories of criminal activity. Indeed, if defendant is not a citizen ofthe United

 States, defendant's guilty plea to and conviction for conspiracy to commit money laundering

 make it such that removal is presumptively mandatory. Likewise, if defendant is a naturalized

 citizen, defendant acknowledges that certain convictions, which may include defendant's

 conviction, may expose defendant to denaturalization under federal law. Because removal,

 denaturalization, and other immigration consequences are the subjects of a separate proceeding,

 defendant understands that no one, including defendant's attorney, the U.S. Attorney's Office, or

 the U.S. District Court, can predict to a certainty the effect of defendant's conviction on

 defendant's immigration or citizenship status. Defendant nevertheless affirms that defendant

 knowingly and voluntarily agrees to plead guilty regardless of any present or future immigration

 consequences that defendant's plea may entail, even if the consequence is defendant's automatic

 removal from the United States or denaturalization followed by automatic removal from the

  United States.




                                                  11
Case 1:19-cr-00334-LMB Document 336 Filed 08/02/21 Page 13 of 16 PageID# 1657




         15.    Breach of the Plea Agreement and Remedies

         This Plea Agreement is effective when signed by the defendant, the defendant's attorney,

 and an attorney for the United States. The defendant agrees to entry ofthis Plea Agreement at

 the date and time scheduled with the Court by the United States (in consultation with the

 defendant's attorney). Ifthe defendant withdraws from this agreement, or commits or attempts

 to commit any additional federal, state, or local crimes, or intentionally gives materially false,

 incomplete, or misleading testimony or information, or otherwise violates any provision ofthis

 agreement, then:

                a.      The United States will be released from its obligations under this
                        agreement. The defendant, however, may not withdraw the guilty plea
                        entered pursuant to this agreement.

                b.      The defendant will be subject to prosecution for any federal criminal
                        violation, including, but not limited to, perjury and obstruction ofjustice,
                        that is not time-barred by the applicable statute of limitations on the date
                        this agreement is signed. Notwithstanding the subsequent expiration of
                        the statute of limitations, in any such prosecution, the defendant agrees to
                        waive any statute-of-limitations defense.

                c.      Any prosecution, including the prosecution that is the subject ofthis
                        agreement, may be premised upon any information provided, or
                        statements made, by the defendant, and all such information, statements,
                        and leads derived therefrom may be used against the defendant. The
                        defendant waives any right to claim that statements made before or after
                        the date of this agreement, including the Statement of Facts accompanying
                        this agreement or adopted by the defendant and any other statements made
                        pursuant to this or any other agreement with the United States, should be
                        excluded or suppressed under Fed. R. Evid. 410, Fed. R. Crim. P. 11(f),
                        the Sentencing Guidelines, or any other provision ofthe Constitution or
                        federal law.


         Any alleged breach ofthis agreement by either party shall be determined by the Court in

 an appropriate proceeding at which the defendant's disclosures and documentary evidence shall

  be admissible and at which the moving party shall be required to establish a breach of this Plea

  Agreement by a preponderance ofthe evidence.



                                                  12
Case 1:19-cr-00334-LMB Document 336 Filed 08/02/21 Page 14 of 16 PageID# 1658




         16.    Nature of the Agreement and Modifications

        This written agreement constitutes the complete plea agreement between the United

 States, the defendant, and the defendant's counsel. The defendant and the defendant's attorney

 acknowledge that no threats, promises, or representations have been made, nor agreements

 reached, other than those set forth in writing in this Plea Agreement or any associated documents

 filed with the Court, to cause the defendant to plead guilty. Any modification of this Plea

 Agreement shall be valid only as set forth in writing in a supplemental or revised plea agreement

 signed by all parties.


                                           Raj Parekh
                                           Acting United States AKoitiey



                                           Dayid A. Peters
                                           •Assistant United States Attorney


                                            Deborah Connor
                                            Chief, Money Laundering and Asset Recovery
                                            Section, U.S. Depaitment of Justice, Criminal
                                            Division



                                            Keily Bladkburn
                                            MaV^aly
                                            Trial Attorneys




                                                 13
Case 1:19-cr-00334-LMB Document 336 Filed 08/02/21 Page 15 of 16 PageID# 1659




        Defendant's Signature: I hereby agree that I have consulted with my attomey and fully
xmderstand all rights with respect to the pending criminal Superseding Indictment. Further,I
fully understand all rights with respect to 18 U.S.C.§ 3553 and the provisions ofthe Sentencing
Guidelines Manual that may apply in my case. I have read this Plea Agreement and carefully
reviewed every part ofit with my attomey. I understand this agreement and voluntarily agree to
it.



 Date:                  h-                    XizhiLi


         Defense Cminsel's Signature: I am counsel for the defendant in this case. I have fully
explained to the defendant the defendant's rights with respect to the pending Superseding
Indictment. Further, I have reviewed 18 U.S.C. § 3553 and the Sentencing Guidelines Manual,
and I have fully explained to the defendant the provisions that may apply in this case. I have
carefully reviewed every part ofthis Plea Agreement with the defendant. To my knowledge,the
defendant's decision to enter into this agreement is an informed and voluntary one.


 Date:    7/af n
                                              GregoiynEngJfshl
                                              Counsel for the Defendant




                                                 14
Case 1:19-cr-00334-LMB Document 336 Filed 08/02/21 Page 16 of 16 PageID# 1660




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